Case 3:13-cr-00237-MEM Document 36 Filed 04/11/16 Page 1of5

AO 245D (Rev. 4/2013-MD/PA) Judgment in a Criminal Case for Revocations-Sheet 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA Judgment in a Criminal Case
Vv. (For Revocation of Probation or Supervised Release)
CHRISTA LEE POLICARE

Case No. 3:13-237
USM No. 71362-067
Leo A. Latella, AFPD

Defendant’s Attorney

THE DEFENDANT:
ow admitted guilt to violation of condition(s) of the term of supervision.
O_ was found in violation of condition(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number Nature of Violation Violation Ended

Substance 04/06/2016

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

O The defendant has not violated condition(s) and is discharged as to such violation(s) condition.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.: 6751 04/11/2016, L

te of Imposition of Judgment

Defendant’s Year of Birth: 1993

City and State of Defendant’s Residence: ° V Signature of Judge
Scranton, PA

Malachy E. Mannion, U.S. District Judge

Name and Title of Judge

LLa-bb

Date
Case 3:13-cr-00237-MEM Document 36 Filed 04/11/16 Page 2 of 5

AO 245D (Rev. 4/2013-MD/PA) Judgment in a Criminal Case for Revocations-Sheet 2

Judgment — Page 2 of 5

DEFENDANT: CHRISTA LEE POLICARE
CASE NUMBER: 3:13-237

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of :

Twelve (12) Months and One (1) Day.

O The court makes the following recommendations to the Bureau of Prisons:

w The defendant is remanded to the custody of the United States Marshal.

(The defendant shall surrender to the United States Marshal for this district:
O at O am. O pm. on
O as notified by the United States Marshal.

(The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
O before 2 p.m. on
O as notified by the United States Marshal.

O as notified by the Probation or Pretrial Services Office.

(] The defendant is to contact the United States Marshal's Office no later than three days prior to the above date to be notified of the
place of confinement.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL

Case 3:13-cr-00237-MEM Document 36 Filed 04/11/16 Page 3 of 5

AO 245D (Rev. 4/2013-MD/PA) Judgment in a Criminal Case for Revocations-Sheet 2A

Judgment—Page 3 of 5

DEFENDANT: CHRISTA LEE POLICARE
CASE NUMBER: 3:13-237

ADDITIONAL IMPRISONMENT TERMS

The court has determined that an upward departure from the guidelines is warranted since the defendant has violated her
conditions of supervision on numerous occassions. During the period of supervised release, the defendant, on at least
eight (8) occassions, violated her conditions of supervision by using controlled substances. On several of those
occassions, the court was contacted by the Probation Officer, and through their efforts, worked with the defendant to assist
in having her placed in facilities for treatment. In considering the factors in 18:3553(a) the sentence is designed to reflect
the seriousness of the continuous violations, promote respect for the law and provide just punishment. Additionally to
afford adequate deterence to future violative behavior and provide the defendant with adequate future substance abuse
treatment.

Case 3:13-cr-00237-MEM Document 36 Filed 04/11/16 Page 4of5

AO 245D (Rev. 4/2013-MD/PA) Judgment in a Criminal Case for Revocations-Sheet 3

Judgment—Page 4 of 5

DEFENDANT: CHRISTA LEE POLICARE
CASE NUMBER: 3:13-237
SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :
One (1) Year.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter as determined by the court.

The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if

The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

oo®

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
or is a student, as directed by the probation officer. (Check, if applicable.)

The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment. .

__ The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3) the. defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
or other acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
y, unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit

confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court; an
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the

defendant’s criminal record or personal history or characteristics and shall permit the probation officer to make such
notifications and to confirm the defendant’s compliance with such notification requirement.

14) the defendant shall notify the court of any material change in the defendant's economic circumstances that might affect
the defendant's ability to pay restitution, fines, or special assessments.

Case 3:13-cr-00237-MEM Document 36 Filed 04/11/16 Page 5of5

AO 245D (Rev. 4/2013-MD/PA) Judgment in a Criminal Case for Revocations-Sheet 3A

Judgment—Page 5 of 5

DEFENDANT: CHRISTA LEE POLICARE
CASE NUMBER: 3:13-237

ADDITIONAL SUPERVISED RELEASE TERMS

The defendant shall undergo a substance abuse evaluation, and if recommended, the defendant shall satisfactorily
complete a program of outpatient or inpatient substance abuse treatment.

The defendant shall undergo a mental health evaluation, and if recommended, the defendant shall satisfactorily complete a
program of outpatient or inpatient mental health treatment.
